             Case 20-20557                   Doc         Filed 04/28/21                 Entered 04/28/21 13:43:44                           Desc Main
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Fill in this information to identify the case:

Debtor 1
                           Michal Ginszt

Debtor 2
(Spouse, if filing)


United States Bankruptcy Court for the:            Northern           District of      Illinois
                                                                                     (State)

Case number              20-20557



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                                   12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
     Name of creditor:           BMO Harris Bank N.A.                                                      Court claim no. (if known):           17


     Last 4 digits of any number you use to                                                                Date of payment change:
     Identify the debtor’s account:                      8620                                              Must be at least 21 days after             07/01/2021
                                                                                                           date
                                                                                                           of this notice


                                                                                                           New total payment                          $220.05
                                                                                                           Principal, interest, and escrow, if
                                                                                                           any



Part 1:               Escrow Account Payment Adjustment
1. Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
            the basis for the change. If a statement is not attached, explain why:


               Current escrow payment:                                                         New escrow payment:


Part 2:               Mortgage Payment Adjustment
2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
            attached, explain why:


               Current interest rate            3.750                     %                    New interest rate:         3.000                       %

               Current principal and interest payment:          $199.00                        New principal and interest payment:          $187.25


Part 3:               Other Payment Change
3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
               (Court approval may be required before the payment change can take effect.)

               Reason for change:

               Current mortgage payment:           $                                           New mortgage payment:         $




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                              page 1
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Debtor 1            Michal Ginszt                                                             Case number (if known)   20-20557
                    First Name        Middle Name         Last Name



Part 4:         Sign Here
The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

         I am the creditor.

         I am the creditor’s authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.



x       /s/ Peter C. Bastianen                                                                       Date        4/28/2021
    Signature



Print                  Peter C. Bastianen                                                            Title      Attorney for Creditor
                       First Name           Middle Name               Last Name



Company                Codilis & Associates, P.C.


Address                15W030 North Frontage Road, Suite 100
                       Number          Street

                       Burr Ridge                    IL                    60527
                       City                                State           ZIP Code

                                                                                                                bkpleadingsNORTHERN@il
Contact phone          (630) 794-5300                                                                Email      .cslegal.com

                                                                                                                                         File #14-20-06122




Official Form 410S1                                                Notice of Mortgage Payment Change                                       page 2
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                                           CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that I have served a copy of this Notice
upon the parties listed below, as to the Trustee and Debtor's attorney via electronic notice on
April 28, 2021 and as to the debtor by causing same to be mailed in a properly addressed
envelope, postage prepaid, from 7140 Monroe Street, Willowbrook, IL 60527 before the hour of
5:00 PM April 28, 2021.

Marilyn O Marshall, Chapter 13 Trustee, 224 South Michigan Ste 800, Chicago, IL 60604 by
electronic notice through ECF
Michal Ginszt , Debtor(s), 3152 N. Melvina Ave., Apt. 205, Chicago, IL 60634
Arthur Corbin, Attorney for Debtor(s), 636 S. River Rd., Suite 201, Des Plaines, IL 60016 by
electronic notice through ECF
Office of U.S. Trustee, 219 S. Dearborn St., Room 873, Chicago, IL 60604 by electronic notice
through ECF




                                                         /s/ Peter C. Bastianen


Berton J. Maley ARDC#6209399
Rachael A. Stokas ARDC#6276349
Peter C. Bastianen ARDC#6244346
Joel P. Fonferko ARDC#6276490
Brenda Ann Likavec ARDC#6330036
Terri M. Long ARDC#6196966
Codilis & Associates, P.C.
15W030 North Frontage Road, Suite 100
Burr Ridge, IL 60527
(630) 794-5300
File #14-20-06122

NOTE: This law firm is a debt collector.
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   BMO Harris Bank N.A.                           Document               Page 4 of 7
   1 Corporate Drive, Suite 360
   Lake Zurich, IL 60047-8945                                                                   PERSONAL INFORMATION REDACTED
   1-855-290-4759



MICHAL GINSZT
APT 205
3152 N MELVINA AVE
CHICAGO, IL 60634


                                                                                                                               04/20/2021

                                                                                                     RE: Loan Number:




                Changes to Your Mortgage Interest Rate and Payments on 06/01/2021

   Under the terms of your Adjustable-Rate Mortgage (ARM), you had a 12 month period during which your interest rate
   stayed the same. That period ends on 06/01/2021, so on that date your interest rate and mortgage payment change. After
   that, your interest rate may change every 12 month(s) for the rest of your loan term.

                                                              Current Rate                                    New Rate
                                                           and Monthly Payment                           and Monthly Payment
    Interest Rate                                               3.75000%                                      3.00000%
    Principal                                                    $100.80                                       $109.19
    Interest                                                      $98.20                                        $78.06
    Escrow (Taxes & Insurance)                                    $32.80                                        $32.80
    Other                                                         (None)                                        (None)
    Subsidy                                                       (None)                                        (None)
    Total Monthly Payment                                        $231.80                                       $220.05
                                                                                                            Due 07/01/2021

   Interest Rate:
   We calculated your interest rate by taking a published “index rate” and adding a certain number of percentage points, called the
   “margin.” Under your loan agreement, your index rate is 0.28775% and your margin is 2.75000%. Your index is the 1 YEAR LIBOR
   - WSJ which is published every 1 day(s) IN THE WALL STREET JOURNAL. Your new interest rate was rounded to the nearest
   0.12500%.

   Rate Limits:
   Your rate cannot go higher than 11.50000% over the life of the loan. For the interest rate being calculated for this change, your rate
   cannot increase more than 2.00000% from the interest rate from the preceding period. Over the life of the loan, your interest rate
   can increase every 12 month(s), no more than 2.00000% per all subsequent Change Dates.

   SCRA Protected Loan:
   If you are a servicemember formally approved to receive SCRA benefits whose Active Duty start date was after the origination date
   of your loan, please note the following. We are required by law to disclose the information in this notice based on the contractual
   interest rate change requirements contained in your promissory note, which may result in a disclosed interest rate higher than 6%.
   However, please be aware that during your period of military service and the required period thereafter, your loan will not bear an
   interest rate greater than the 6% maximum rate of interest cap per SCRA, 50 U.S.C. §3937.

   New Interest Rate and Monthly Payment: The table above shows your new interest rate and new monthly payment. Your new
   interest rate is based on the 1 YEAR LIBOR - WSJ, your margin, the rounding of your interest rate and applicable rate limits. Your
   new payment is based on your interest rate of 3.00000%, your loan balance of $31,222.60, and your remaining loan term of 216
   month(s). If you have any questions regarding this Notice, to contact an ARM Loan Representative, send an email to
   specloansproxy@yourmortgageonline.com or call 1-855-290-4759 between 7:30 am and 7:00 pm CST, Monday-Friday.

   If your ARM includes a default interest rate feature to be triggered for failure to comply with one or more terms of your ARM (Event
   of Default), in the Lender's sole discretion and without waiving any of its other rights or remedies, after the occurrence of an Event of
   Default, interest will accrue at the default interest rate specified in your ARM loan documents, or such lesser rate as the Lender may
   determine, effective as of the date specified in your loan documents, and until the default is remedied or cured, if curable. If a
   default interest rate is triggered, you will receive a separate notice advising you of the Event of Default, the applicable default
   interest rate and adjusted monthly payment. Where an Event of Default has occurred and the default interest rate is in effect, the
   New Interest Rate and Monthly Payment disclosed in this ARM Notice will not be implemented until such time as the Event of
   Default has been remedied or cured, if curable, and the default interest rate is suspended as outlined in your ARM loan documents.
   You will receive a separate notice of the suspension of any default interest rate.

   Prepayment Penalty:
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[None]

THIS DOCUMENT IS AN ATTEMPT TO COLLECT A DEBT, AND ANY INFORMATION OBTAINED WILL BE USED FOR THAT
PURPOSE. IF YOU ARE IN BANKRUPTCY OR HAVE BEEN DISCHARGED IN BANKRUPTCY, THIS LETTER IS FOR
INFORMATIONAL PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT IN VIOLATION OF THE
AUTOMATIC STAY OR THE DISCHARGE INJUNCTION OR AN ATTEMPT TO RECOVER ALL OR ANY PORTION OF THE
DEBT FROM YOU PERSONALLY.

RESPA Notices of Error and Requests for Information: RESPA Notices of Error and Requests for Information must be sent only
to the following address, including the specific Attention line noted: Attention: Mail Stop NOE 1290, 1 Corporate Drive, Suite 360,
Lake Zurich, IL 60047-8945.
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     INDEX DETAILS – CONFIRMATION OF INDEX NAME AND INDEX PUBLICATION SOURCE

Dear MICHAL GINSZT:

INDEX DETAILS: There may have been occurrences in which interest rate change notices were sent
with the index name and publication source inadvertently missing. Please be assured that the index has
been and remains 1 YEAR LIBOR - WSJ as published every 1 day(s) IN THE WALL STREET JOURNAL.

All calculations continue to be based upon the correct index. We apologize for any confusion this may
have caused.

If you would like a corrected copy of a past interest rate change notice, please send your request in
writing to:

Address: 1 Corporate Drive, Lake Zurich, IL 60047
Email: custserv@yourmortgageonline.com

If you have any questions regarding this Notice, call 1-855-290-4759, Monday through Friday, 7:30 am to
7:00 pm.


Sincerely,

Special Loans Department
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